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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                  Case No. 24-81105-CV-MIDDLEBROOKS/MATTHEWMAN


  JAMES KEANE,

                        Plaintiff(s)

  vs.

  MEDICREDIT INC.,

                        Defendant(s).

  ___________________________________________/

                 ORDER REFERRING CASE AND SETTING TRIAL DATE

         PLEASE TAKE NOTICE that the above-entitled cause is hereby set for Trial before the

  Honorable Donald M. Middlebrooks, United States District Judge, at United States District Court

  at 701 Clematis Street, Second Floor, Courtroom 7, West Palm Beach, Florida, during the two-

  week trial period commencing June 2, 2025, at 9:00 a.m., or as soon thereafter as the case may

  be called.   PLEASE TAKE FURTHER NOTICE that a Calendar Call will be held on

  Wednesday, May 28, 2025, at 1:15 pm in West Palm Beach, Florida. ALL COUNSEL

  MUST BE PRESENT.

         JURY TRIALS. By the dates set forth in the pretrial scheduling order, counsel shall

  submit proposed jury instructions with the substantive charges and defenses, verdict forms, and

  motions in limine, if any. Jury instructions shall be filed on the docket and a copy shall be

  submitted in Word format directly to middlebrooks@flsd.uscourts.gov. To the extent these

  instructions are based upon the Eleventh Circuit Pattern Jury Instructions, counsel shall indicate

  the appropriate Eleventh Circuit Pattern Jury Instruction upon which their instruction is modeled.
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  All other instructions shall include citations to relevant supporting case law. The Eleventh Circuit

  Pattern Jury Instructions Builder is available at https://pji.ca11.uscourts.gov.

         At jury selection, the Court will conduct voir dire. The Parties may, but are not required

  to, submit voir dire questions to the Court. After the Court questions the jury venire, the Parties

  will each have a limited amount of time, to be determined at Calendar Call, to question the jury

  venire. After the Court determines which members of the jury venire should be dismissed for

  cause, each side will be allowed three peremptory challenges, with no backstriking. As soon as

  the jury is selected, the jury will be sworn, preliminary instructions will be given, and the case will

  begin with opening statements.

         Side bars are not generally permitted. The Parties shall raise any anticipated issues prior

  to trial or during a break, outside the presence of the jury. Should the Court need to address an

  issue, the jury likely will be excused for a break.

         BENCH TRIALS. In cases tried before the Court, each party shall file by the deadline

  set forth in the pretrial scheduling order, the proposed Findings of Fact and Conclusions of Law.

  An additional copy shall be sent in Word format to the chambers e-mail account listed above.

         EXHIBITS. Prior to any trial, counsel shall submit to the Court a typed list of proposed

  witnesses and/or exhibits. All exhibits must be pre-labeled in accordance with the proposed

  exhibit list. Exhibit labels must include the case number. At least two-weeks before trial, the

  parties shall file their deposition designations along with objections in the event there are any.

         The Parties exhibit list should be prepared using the Administrative Office’s form 187

  (AO-187). The Parties are responsible for complying with the Southern District of Florida’s

  Administrative Order 2016-70, which was entered on November 22, 2016, concerning the
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  electronic submission of admitted exhibits.1 It is further

         ORDERED AND ADJUDGED, pursuant to 28 U.S.C. ' 636 (b)(1)(A) and the Magistrate

  Judge Rules of the Local Rules of the Southern District of Florida, the above-captioned cause is

  hereby referred to United States Magistrate Judge William Matthewman to conduct a

  Scheduling Conference, pursuant to Local Rule 16.1.B, for the purpose of setting pre-trial deadline

  dates, for determining possible consent to the jurisdiction of the Magistrate Judge for trial, and for

  the purpose of setting any settlement conferences in lieu of or in addition to mediation if the parties

  so request. Judge Matthewman shall retain jurisdiction to resolve any disputes arising from the

  aforementioned proceeding(s). All counsel of record will be required to attend this conference

  which will be noticed by Magistrate Judge Matthewman. Copies of any and all filings related to

  such scheduling conference, including proposed orders, must be sent directly to Judge

  Matthewman at matthewman@flsd.uscourts.gov.

         Further, any request to modify the above-set trial date must be made prior to the

  Scheduling Conference. The foregoing does not preclude consideration of a prompt motion

  to modify the trial date for good cause shown by a party joined in the litigation after the

  Scheduling Conference has occurred.

         The parties are directed, in accordance with CM/ECF procedures, as follows:

         COURTESY COPIES: Notwithstanding the implementation of CM/ECF, for all

  motions that are filed in CM/ECF that exceed twenty-five pages, the parties shall deliver a

  courtesy copy for Chambers to the Intake Section of the Clerk=s Office. This copy shall be bound

  and any attachments and/or appendices must be indexed with tabs.



  1
    Note that any exhibits admitted during a hearing are also required to be filed electronically on
  the docket after the hearing. See Administrative Order 2016-70.
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         PRO SE FILINGS: Any original court filings of any type that are hand-delivered or

  mailed to the Clerk’s Office by a pro se party for filing in CM/ECF shall not be bound or contain

  any tabs for ease of scanning and filing by the Clerk.

         PROPOSED ORDERS: Pursuant to the CM/ECF Administrative Procedures, counsel

  shall send proposed orders in Word format for ALL motions directly to

  middlebrooks@flsd.uscourts.gov.2

         DONE AND ORDERED, in Chambers, at West Palm Beach, Florida, this 12th day of

  November 2024.




                                                             Donald M. Middlebrooks
                                                             United States District Judge

  cc:    Honorable William Matthewman
         All Counsel of Record




         2  This does not apply to orders relating to Judge Matthewman’s scheduling conference
  discussed above.
